TREG R. TAYLOR
ATTORNEY GENERAL

Jessica Moats Alloway
Christopher Orman
Assistant Attorneys General
Department of Law
1031 West 4th Avenue, Suite 200
Anchorage, AK 99501
Telephone: (907) 269-5232
Facsimile: (907) 276-3697
Email: jessie.alloway@alaska.gov
        christopher.orman@alaska.gov

Attorneys for the State of Alaska

                          UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


 STATE OF ALASKA,

      Plaintiff,                                     Civil Action No.:

 v.
                                                     COMPLAINT FOR
 BRYAN NEWLAND, in his official                      DECLARATORY JUDGMENT
 capacity as Assistant Secretary, Indian             AND INJUNCTIVE RELIEF
 Affairs, U.S. Department of the Interior;
 and U.S. DEPARTMENT OF THE
 INTERIOR,

      Defendants.


                                     INTRODUCTION

      1.     The State of Alaska challenges a decision of the Assistant Secretary, Indian

Affairs, acting through the U.S. Department of the Interior (collectively “Defendants”), to

grant an application submitted by the Central Council of Tlingit and Haida Indian Tribes




           Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 1 of 25
of Alaska (“Central Council” or “the Tribe”) to accept a parcel of land located in

downtown Juneau in trust by the United States on behalf of the Tribe and to proclaim this

land a reservation. The Assistant Secretary’s decision limits the State’s sovereign

jurisdiction in Alaska and undermines key terms of the Alaska Native Claims Settlement

Act (“ANCSA”), 43 U.S.C. §§ 1601–1629h.

   2.     Through ANCSA, Congress authorized the transfer of $962.5 million and

44 million acres of land in exchange for the extinguishment of aboriginal title and any

claims based on that title. 43 U.S.C. §§ 1603, 1605, 1611. Congress sought to “maximize

participation by Natives in decisions affecting their rights and property . . . without

creating a reservation system or lengthy wardship or trusteeship.” Id. § 1601(b). To

further that objective, Congress expressly revoked the few reserves that had been created

in Alaska (except for the Annette Island Reserve), id. § 1618(a), and provided for the

creation of more than 200 state-chartered village and regional corporations, owned and

operated by Natives as for-profit businesses subject to state law. Id. §§ 1606, 1607.

   3.     For 46 years following the passage of ANCSA, under the guidance of multiple

Secretaries of the Interior, the Department declined to take lands into trust on behalf of

Alaska Natives. That changed in 2017, when the Department, for the first time, accepted

lands into trust in Alaska post-ANCSA. And now, after nearly 50 years of certainty, the

State and Alaska Natives have entered a period of uncertainty. Between 2017 and 2022,

the Department of the Interior has issued five Solicitor Opinions addressing the

Secretary’s authority to take lands into trust in Alaska. Two have concluded that the


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 2 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 2 of 25
Secretary retains the authority to place Alaska Natives’ lands into trust, two have

withdrawn prior opinions, and one has agreed—consistent with Solicitor Opinions issued

in 1978 and 1993, that the Secretary lacks the authority, post-ANSCA, to take lands into

trust.

    4.    The extent of the State of Alaska’s sovereignty over lands within its borders

should not be determined by the political whims of federal officials. Only the courts can

conclusively decide whether the Secretary’s authority to take lands into trust for Alaska

Natives, other than the members of the Metlakatla Indian Community, survived the

passage of ANCSA, and if it did, the extent of that authority.

    5.    Through this lawsuit, the State seeks to finally resolve this issue. It asks the

Court to enforce the settlement terms of ANCSA and requests a declaration that the

Assistant Secretary’s act to take lands into trust in Alaska exceeded the Secretary’s

authority and was an abuse of direction.

                            JURISDICTION AND VENUE

    6.    This Court has jurisdiction pursuant to 28 U.S.C. § 1331. This action

challenges a final agency action and is brought under the Administrative Procedure Act,

5 U.S.C. §§ 701–706. The Declaratory Judgment Act, 28 U.S.C. §§ 2201–2202,

authorizes the requested declaratory and injunctive relief.

    7.    The federal government waived its sovereign immunity for suits challenging

final agency actions. 5 U.S.C. § 702; Match-E-Be-Nash-She-Wish Band of Pottawatomi

Indians v. Patchak, 567 U.S. 209, 216-17 (2012).


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 3 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 3 of 25
   8.     The State challenges a final agency action under 5 U.S.C. § 704.

   9.     An actual, justiciable controversy now exists between the State and

Defendants, and the requested relief is proper.

   10.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because this action

is brought against an officer of an agency of the United States in his official capacity and

against a federal agency. The subject land is located within the District of Alaska. The

land in trust status immunizes the land from state and local taxation, protects land against

alienation, establishes tribal sovereignty over the land, sets up potential intra-Alaskan

conflicts between different territorial sovereigns within Alaska, and thereby implicates

considerable local economic and political interests.

                                         PARTIES

   11.    Alaska is a sovereign state, with a compelling interest in maintaining its

jurisdiction over land owned by federally recognized tribes in the state. Alaska also

maintains an interest in enforcing the terms of ANCSA.

   12.    Defendant Bryan Newland is the Assistant Secretary for Indian Affairs within

the U.S. Department of the Interior and is being sued in his official capacity. The

Assistant Secretary is the federal official with delegated authority to review and grant an

application to take land into trust under the implementing regulations contained in

25 C.F.R. Part 151.

   13.    Defendant Department of the Interior is an agency of the United States and is

charged with primary supervision of Indian Affairs for the federal government.


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 4 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 4 of 25
                                        STANDING

   14.    A decision by the Defendants to take land into trust under 25 U.S.C. § 5108

jeopardizes the State’s rights to tax and to enforce land use, natural resource

management, environmental, and public safety regulations on that trust land. The loss of

sovereignty over land within its jurisdiction is a legally protectable interest. Akiachak

Native Cmty. v. U.S. Dep't of Interior, 584 F. Supp. 2d 1, 6 (D.D.C. 2008); cf.

Confederated Tribes of Chehalis Indian Rsrv. v. Lujan, 928 F.2d 1496, 1498 (9th Cir.

1991) (finding legal interest in a tribe’s status as “the exclusive governing authority of the

reservation”).

   15.    The State also has an interest in maintaining the terms of the settlement

reached in ANCSA. Congress passed ANCSA in 1971 to settle claims of aboriginal title,

to promote economic development, and to “maxim[ize] participation by Natives in

decisions affecting their rights and property . . . without establishing a reservation system

or lengthy wardship or trusteeship.” 43 U.S.C. § 1601(a) & (b). As consideration for this

settlement, the State relinquished its land selection priorities under the Alaska Statehood

Act and provided half of the monetary settlement ($500 million). Id. §§ 1605, 1608,

1610.

   16.    For the first 46 years following the passage of ANCSA, the Department of the

Interior complied with the settlement’s terms, declining to take lands into trust in Alaska.

The Department’s first action to undermine this settlement occurred in 2017, when then-

Assistant Secretary, Lawrence S. Roberts, granted the Craig Tribal Association’s


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 5 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 5 of 25
application to place approximately 1.08 acres within the downtown area of the City of

Craig into trust. Land Acquisitions; Craig Tribal Association, 82 Fed. Reg. 4,915

(January 10, 2017). The Department most recently undermined the settlement on

November 17, 2022, when it granted the Central Council’s application to accept a

787 square foot parcel in downtown Juneau into trust and then proclaim that parcel an

Indian reservation

     17.     The harm to the State’s sovereignty—something Congress specifically

preserved in ANCSA—is actual and occurred immediately upon the Defendants’ grant of

the Central Council’s application. Moreover, the Central Council has four additional

applications pending before the Department, and the agency has also received

applications from the Ninilchik Traditional Council and the Native Village of Fort

Yukon. These pending applications, coupled with the Department’s current position

regarding the extent of its authority under 25 U.S.C. § 5108, as articulated in the most

recent Solicitor Opinion, further jeopardize the State of Alaska’s sovereign authority. See

Robert T. Anderson, Solicitor Opinion M-37076, “The Secretary’s Land into Trust

Authority for Alaska Natives and Alaska Tribes” (Nov. 16, 2022).

                       LEGAL AND FACTUAL BACKGROUND

I.         Historical Background

     18.     When Russian explorers “discovered” Alaska in 1741, they came upon a land

of abundant natural resources and a diverse Native population, subsisting in small

villages or groups along the thousands of miles of coastline and in the mountainous


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 6 of 25

            Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 6 of 25
inland regions of the future state. In 1867, when the United States purchased Alaska from

Russia, most of these communities remained intact. See Robert D. Arnold, Alaska Native

Land Claims 1-26 (1975). Today, there are 227 federally recognized tribes in Alaska. See

88 Fed. Reg. 2112 (Jan. 12, 2023).

   19.    By the time the United States had acquired the Alaskan territory, most Indians

in the contiguous United States had been displaced from their aboriginal lands by war or

treaty, and confined to federally established territories or reservations. Although these

reservations were created expressly for the use and occupancy of Indians, Indians did not

own or control the land. Rather, the land was held in “trust” for them by the federal

government, and any action concerning the land was subject to exclusive federal control.

At the same time, because their means of subsistence had fallen prey to westward

expansion, reservation Indians were almost entirely dependent upon the federal

government for food, clothing, and protection, and were often perceived as “dead[ly]

enemies” of the States. United States v. Kagama, 118 U.S. 375, 383-84 (1886).

See Arnold, Alaska Native Land Claims, at 28-36; Felix S. Cohen, Handbook of Federal

Indian Law, at 28-29, 74-92, 121-125 (1982 ed.).

   20.    In Alaska there is no history of Indian wars or treaties, and from purchase to

statehood “the federal government was involved only minimally with Alaska Natives.”

Felix S. Cohen, Handbook of Federal Indian Law, at 739 (1982 ed.). Moreover, “[t]here

was never an attempt in Alaska to isolate Indians on reservations,” and “[v]ery few were

ever created.” Metlakatla Indian Community v. Egan, 369 U.S. 45, 51 (1962). Indeed,


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 7 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 7 of 25
“Alaskans, both Native and non-Native, opposed creation of reservations on the grounds

that reservations were socially divisive and tended to perpetuate a wardship rather than

equality for the Natives.” United States v. Atlantic Richfield Co., 436 F. Supp. 1009, 1015

(D. Alaska 1977), aff’d, 612 F.2d 1132 (9th Cir.), cert. denied, 449 U.S. 888 (1980).

   21.    Prior to the enactment of the Indian Reorganization Act (IRA) in 1934,

Congress established one reserve—the Annette Island Reserve, or Metlakatla. Act of

Mar. 3, 1891, ch. 561, § 15, 26 Stat. 1101. Metlakatla is distinct in that its members are

not Alaska Natives, but rather nineteenth century emigrants from British Columbia. See

Egan, 369 U.S. at 48. Prior to ANCSA, there were nineteen other reserves in Alaska that

were established by the executive branch. Cohen’s Handbook of Federal Indian Law

§ 4.07[3][b][iii] (Nell Jessup ed., 2012); Federal Field Committee For Development

Planning in Alaska, Alaska Natives and the Land 443-446 (1968).

   22.    Alaska Natives, from the organization of Alaska’s first civil government in

1884 forward, have been subject to the same laws as non-Natives, including the criminal

code, taxes, and civil laws governing matters such as hunting and fishing, employment,

and even domestic issues. See, e.g., Native Village of Stevens v. Alaska Management &

Planning, 757 P.2d 32, 35 (Alaska 1988) (state laws and taxes); United States v.

Sitarangok, 4 Alaska 667 (D. Alaska 1913) (territorial public works laws); United States

v. Doo–Noch–Keen, 2 Alaska 624 (D. Alaska 1905) (territorial fishing laws). The same

was true even with respect to the few reservations that existed in Alaska, see Egan,

369 U.S. at 51, despite the fact that reservation Indians in the lower 48 States were


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 8 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 8 of 25
generally not subject to state or territorial laws, but instead a special body of federal and

tribal law reserved for such “Indian country.” See Cohen, Handbook of Federal Indian

Law, at 27 (1982 ed.). While the terms “reserve” and “reservation” are often used

interchangeably today, the reserves that were established in Alaska were established for

various public purposes, such as education of Alaska Natives, but were not “Indian

country” like Lower 48 reservations. David Case & David Voluck, Alaska Natives and

American Laws, pp. 66-67 (2nd ed, University of Alaska - Fairbanks Press 2002).

      23.      On occasion, Alaska Natives attempted to avoid application of state or

territorial law, or to take advantage of federal Indian law, on the ground that a particular

offense or activity occurred in Indian country. These efforts, however, were consistently

rejected by the courts, which held that, because of “the anomalous condition of Alaska,”

Indian country did not exist there. Kie v. United States, 27 F. 351, 353 (D. Or. 1886).

Accord United States v. Booth, 161 F. Supp. 269 (D. Alaska 1958); In re Sah Quah,

31 F. 327 (D. Alaska 1886); United States v. Seveloff, 27 F. Cas. 1021 (D. Or.1872); cf.

Egan, 369 U.S. at 51–52 (discussing how historically even the Annette Island Reserve is

“not ‘Indian country’ ”). Federal officials and others responsible for governing the Alaska

Territory early on formed the same view. See, e.g., DOI, Opinion Regarding Legal Status

of Alaska Natives, 19 Pub. Lands Dec. 323, 325 (1894) (“Alaska is not Indian country”).

II.         The Indian Reorganization Act

      24.      Congress enacted the IRA in 1934 to “establish machinery whereby Indian

tribes would be able to assume a greater degree of-self-government, both politically and


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                       Page 9 of 25

             Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 9 of 25
economically.” Morton v. Mancari, 417 U.S. 535, 542 (1974). More specifically, the

purposes of the Act were to stop and reverse the effects of alienation of Indian lands in

the Lower 48, to create chartered businesses or organizations, to authorize tribes to

incorporate, to provide funding and federal loans for those corporations, to provide

education opportunities to “Indians,” and to provide hiring preferences to “Indians” in the

Bureau of Indian Affairs. S. Rep. 73-1080 (1934). Like many other federal statutory

schemes, when it came to applying the IRA to Alaska, “Alaska [was] the exception, not

the rule.” Sturgeon v. Frost, 577 U.S. 424, 440 (2016); Yellen v. Confederated Tribes of

Chehalis Rsrv., 141 S. Ct. 2434, 2438 (2021) (same). As enacted in 1934, only some of

the provisions in the IRA applied to Alaska. 48 Stat. 984, Sec. 13 (1934), 25 U.S.C. §

5118. The sections that applied provided “Indians” with education opportunities and

hiring preferences, allowed reservation tribes to organize under the IRA and create

constitutions and bylaws, and authorized Indian chartered corporations to receive funding

and federal loans. Id. (“The provisions of this Act shall not apply to any of the

Territories, colonies, or insular possessions of the United States, except that sections 9,

10, 11, 12, and 16 [25 U.S.C. §§ 5112, 5113, 5115, 5116, and 5123], shall apply to the

Territory of Alaska.”).

   25.    The IRA defines “Indian” and “tribe.” 25 U.S.C. § 5129. Under the IRA, the

term “Indian” includes three categories of people: (1) “all persons of Indian descent who

are members of any recognized Indian tribe now under Federal jurisdiction”; (2) “all

persons who are descendants of such members who were, on June 1, 1934, residing


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 10 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 10 of 25
within the present boundaries of any Indian reservation”; and (3) “all other persons of

one-half or more Indian blood.” 25 U.S.C. § 5129. In 1934, it was disputed whether

certain groups of Alaska Natives such as “Eskimos” were considered “Indian,” see, e.g.,

78 Cong. Rec. 1183 (1934), and Congress clarified that, for the purposes of the IRA,

“Eskimos and other aboriginal peoples of Alaska shall be considered Indians.” 25 U.S.C.

§ 5129. The Supreme Court interpreted the first category of the IRA’s definition of

“Indian” to mean members of tribes that were under federal jurisdiction back in 1934

when the IRA was enacted. Carcieri v. Salazar, 555 U.S. 379, 395 (2009). The IRA

defines “tribe” as “any Indian tribe, organized band, pueblo, or the Indians residing on

one reservation.” 25 U.S.C. § 5129.

   26.    The 1934 Act was “largely inoperative” in Alaska due to an oversight when

drafting. S. Rep. 74-1831 (1936). Although section 10’s financial assistance for IRA-

chartered corporations applied in Alaska, the 1934 Act inadvertently failed to authorize

the creation of any IRA-chartered corporations in Alaska. Id. Plus, sections 16 (§ 5123)

and 17 (§ 5124), which allowed “tribes” to organize and incorporate, referred to tribes on

reservations, and there were not many Indian reserves/reservations in Alaska.

   27.    In 1936, Congress passed the Alaska IRA (“AIRA”) to rectify these problems.

Act of May 1, 1936, ch. 254, 49 Stat. 1250. Section 1 of the AIRA extended section 17 of

the IRA to Alaska, allowing tribes to incorporate and thereby receive federal funding for

economic projects. Act of May 1, 1936, ch. 254, § 1 (codified as amended at 25 U.S.C. §

5124). And section 1 of the AIRA also allowed non-reservation groups of Indians who


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 11 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 11 of 25
were not yet recognized as tribes under federal jurisdiction to use sections 16 (§ 5123),

17 (§ 5124), and 10 (§ 5113) of the Act (i.e., to organize and adopt IRA constitutions, to

incorporate, and to receive federal loans). Separately in section 1, the AIRA made

additional provisions of the IRA narrowly applicable in Alaska—this includes the

Secretary’s authority to acquire and take lands into trust for “Indians” as defined by the

IRA, and to use those lands to proclaim new Indian reservations or add lands to existing

reservations. See Act of May 1, 1936, ch. 254, § 1 (codified as amended at 25 U.S.C. §§

5108, 5110, and 5119). Section 2 of the AIRA authorized the Secretary to establish

reservations on any area of land which had been reserved for the use and occupancy of

Alaska Natives and any other public lands occupied by them or adjacent thereto. Act of

May 1, 1936, ch. 254, § 2, 49 Stat. 1250, repealed by Pub. L. No. 94-579, § 704(a),

90 Stat. 2743, 2792 (1976).

   28.     The Secretary’s authority to take lands into trust for Indians is codified at

25 U.S.C. § 5108. That statute provides that the Secretary “is authorized, in [her]

discretion, to acquire . . . any interest in lands, water rights, or surface rights to land . . .

for the purpose of providing lands for Indians.” The statute further provides that “[t]itle to

any lands or rights acquired pursuant to this Act . . . shall be taken in the name of the

United States in trust for the Indian tribe or individual Indian for which the land is

acquired, and such lands or rights shall be exempt from State and local taxation.” Id.

   29.     Although various native villages filed petitions, the Secretary incorporated

only six reserves prior to the passage of ANCSA and all of those reserves were reserved


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 12 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 12 of 25
under AIRA, § 2. See S. Rpt. 92-405 at 92. Prior to 2017, the Secretary had never

invoked the authority granted under AIRA, § 1 (codified as amended at 25 U.S.C. §

5110) to proclaim new Indian reservations or to expand reservations in Alaska.

   30.      Between 1948 and 1950, under the AIRA generally, three different parcels

were conveyed to the United States to be held in trust for the Organized Village of Kake,

the Angoon Community Association, and the Klawock Cooperative Association.

Thomas Sansonetti, Solicitor Opinion M-36975, “Governmental Jurisdiction of Alaska

Native Villages Over Land and Nonmembers,” 112 fn. 277 (1993). All three were for

cannery sites to compete with the Annette Island Reserve’s economically successful

cannery. David Case & David Voluck, Alaska Natives and American Laws, pp. 86, 205,

387 (University of Alaska Fairbanks Press 2nd Ed. 2002); Robert E. Price, “The Great

Father in Alaska,” pp. 103-134 (Douglas Press 1990). For 67 years, the AIRA would not

be used again to place lands into trust in Alaska.

III.     The Alaska Native Claims Settlement Act

   31.      In 1958, Congress enacted the Alaska Statehood Act. See Pub. L. No. 84-508,

72 Stat. 341 (1958) (Statehood Act). “And because the new State would need property—

to propel private industry and create a tax base—the Statehood Act” permitted Alaska to

select 103 million acres of “ ‘vacant, unappropriated, and unreserved’ ” federal land for

state ownership. Sturgeon v. Frost, 139 S. Ct. 1066, 1074 (2019) (quoting Statehood Act,

§ 6(a)-(b) (“Sturgeon II”)).




State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 13 of 25

          Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 13 of 25
   32.    Because Alaska Natives were not categorically displaced from their land, there

was little need prior to statehood to address the status of their aboriginal land claims. That

changed in the 1960s when the State began its land selections under the Statehood Act.

The conflict eventually led the Secretary in 1966 to impose a freeze on further selections.

Discovery of oil on the Arctic Slope heightened the dispute and the need for resolution.

See Atlantic Richfield Co., 435 F. Supp. at 1016-18.

   33.    Congress, Alaska Natives, and the State negotiated over four years to settle

Alaska Native land claims.

   34.    During this process, Alaska Natives—represented en masse by the Alaska

Federation of Natives—made clear that they “very vehemently” opposed any settlement

based on the reservation concept. Alaska Native Land Claims: Hearings on S. 2906

Before the Senate Comm. on Interior and Insular Affairs, 90th Cong., 2d Sess. 89 (1968).

They also opposed the concept—advanced by the Secretary of the Interior—that the

federal government would hold the land in trust. Id. at 576. Instead, rather than “some

modified form of reservation or paternalism,” Alaska Natives urged Congress to adopt “a

bold and imaginative approach which fully and finally resolves all claims, . . . and

permits the Natives to improve themselves and their land and determine their own

destiny.” Alaska Native Land Claims: Hearings on H.R. 13142 and H.R. 10193 Before

the Subcomm. on Indian Affairs of the House Comm. on Interior and Insular Affairs,

91st Cong., 1st Sess. 181 (1969).




State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 14 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 14 of 25
   35.     For its part, Congress’s purpose aligned with that of the Alaska Federation of

Natives. As reflected in the legislative history, “[a] major purpose of this Committee and

the Congress is to avoid perpetuating in Alaska the reservation and the trustee

system which has characterized the relationship of the Federal government to the Indian

peoples in the contiguous 48 states.” S. Rep. No. 92-405, at 108-109 (1971) (emphasis

added). Congress wanted to avoid reservations and thus granting large enclaves that

could result in “remote land locked reservations rather than viable open communities.”

Id. at 76-77.

   36.     The third party to this settlement—the State of Alaska—also agreed to this

structure as it would resolve the land claims and solidify the reach of its sovereign

jurisdiction.

   37.     Congress passed ANCSA in 1971. “In no clearer fashion could Congress have

departed from its traditional practice of setting aside Indian lands.” Alaska v. Native

Village of Venetie Tribal Government, 522 U.S. 520, 532 (1998). The Act extinguished

the Alaska Natives’ aboriginal claims, 43 U.S.C. § 1603, “[b]ut it granted the Natives

much in return.” Sturgeon II, 139 S. Ct. at 1075. In exchange, ANCSA authorized the

transfer of $962.5 million and 44 million acres of land. 43 U.S.C. §§ 1605, 1611.

Congress sought to effect this settlement by “maximiz[ing] participation by Natives in

decisions affecting their rights and property . . . without creating a reservation system or

lengthy wardship or trusteeship.” Id. § 1601(b). Thus, it expressly revoked the few

reserves/reservations that had been created in Alaska (save Metlakatla), id. § 1618(a), and


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 15 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 15 of 25
provided for the creation of more than 200 state-chartered village and regional

corporations, owned and operated by Natives as for-profit businesses subject to state

law. Id. §§ 1606, 1607. It then conveyed the land to these business corporations in fee,

leaving it a freely alienable corporate asset. Id. §§ 1611, 1613. To encourage Native

villages to adopt municipal governments under state law, Congress required the new

ANCSA corporations to reconvey a portion of their land to the existing municipal

government or, if none existed, to the State in trust until one was established. Id. §

1613(c)(3).

      38.     As consideration for the settlement, the State relinquished its land selection

priorities under the Alaska Statehood Act and provided half of the monetary settlement

($500 million). 43 U.S.C. §§ 1605, 1608, 1610.

IV.         Post-ANCSA, 1971-2017

      39.     In 1976, Congress enacted the Federal Land Policy and Management Act

(“FLPMA”). Pub. L. No. 94-579, 90 Stat. 2743 (1976), codified as amended at 43 U.S.C.

§§ 1701-1787. Congress declared as one of FLMPA’s purposes that “all existing

classifications of public lands that were [previously] effected by executive action or

statute” be reviewed in accordance with the Act’s provisions, and that Congress

“delineate the extent to which the Executive may withdraw lands without legislative

action.” 43 U.S.C. § 1701(a)(3)-(4). Title VII repealed dozens of miscellaneous land laws

governing the disposal of federal lands across the nation, including the Secretary’s

authority to use public lands to establish Indian reservations in Alaska under AIRA, § 2.


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 16 of 25

             Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 16 of 25
FLPMA, tit. VII, § 704(a). Congress did not address the sections of the AIRA that did not

specifically deal with public lands (i.e., AIRA, § 1, the Secretary’s authority to take lands

into trust under 25 U.S.C. § 5108 or to turn those acquired lands into reservations under

§ 5110).

   40.      In the wake of ANCSA, and even FLPMA, those responsible for governing

Alaska reaffirmed the historical understanding that Indian country did not exist in the

state. In 1978, seven years after ANCSA’s passage, Thomas W. Fredericks, Associate

Solicitor for Indian Affairs, rejected the Arctic Village and the Native Village of

Venetie’s petition to have the Department take their former reservation into trust. He

concluded that, following Congress’s directive in ANCSA, it would be an abuse of the

Secretary’s discretion to accept in trust the village communities’ former reservation

lands. Memorandum from Thomas W. Fredericks, Associate Solicitor for Indian Affairs,

to Forrest Gerard, Assistant Secretary — Indian Affairs, “Trust Land for the Natives of

Venetie and Arctic Village,” (Sep. 15, 1978) (“Fredericks Opinion”). In 1980, the

Department promulgated land-into-trust regulations that prohibited consideration of any

trust acquisitions in Alaska, “except acquisitions for the Metlakatla Indian Community of

the Annette Island Reserve or its Members” (“Alaska Exception”). Final Rule, Land

Acquisitions, 45 Fed. Reg. 62034 (Sept. 18, 1980).

   41.      In 1988—15 years after ANCSA was passed—the Alaska Supreme Court

reiterated that “[t]here is not now and never has been an area of Alaska recognized as

Indian country.” Native Village of Stevens v. Alaska Management & Planning, 757 P.2d


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 17 of 25

           Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 17 of 25
32, 36 (Alaska 1988). The Department reaffirmed this position again in 1993 with the

release of a 133-page opinion authored by Solicitor Thomas L. Sansonetti. Thomas L.

Sansonetti, Solicitor Opinion M-36975, “Governmental Jurisdiction of Alaska Village

Over Land and Nonmembers” (Jan. 11, 1993). Having thoroughly canvassed ANCSA and

its historical backdrop, Sansonetti concluded that “ANCSA precludes the treatment of

lands received under that Act as Indian country” and that Congress sought “an

unambiguous rejection of the reservation system or any categories of trust or restricted

land.” Id. at 88, 112 n. 276, 131, 133. The Department has never revoked or rescinded the

Sansonetti opinion.

41.       In the 1980s, Congress considered several amendments to ANCSA. The

Alaska Federation of Natives supported what became known as the “qualified transferee

entity (QTE) option.” Amendments to the Alaska Native Claims Settlement Act and the

Alaska National Interest Lands Conservation Act and to Establish a Memorial in the

District of Columbia: Hearings on S. 485, S. 1330, S. 2065, and S. 2370 Before the

Subcomm. on Public Lands, Reserved Water and Resource Conservation of the Senate

Comm. on Energy and Natural Resources, 99th Cong., 2d Sess. 165-66 (1986). The

“QTE Amendment” would have allowed ANCSA corporations to transfer land or assets

to traditional councils or IRA tribal councils to be held in trust by the federal government.

Id. The State opposed the amendment, arguing that such transfers would “strengthen the

claim that there was Indian country in Alaska” and would contravene ANCSA’s

declaration of accomplishing a settlement “without creating a reservation system or


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 18 of 25

        Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 18 of 25
lengthy wardship or trusteeship.” Id.; see also 43 U.S.C. § 1601(b). Congress ultimately

rejected the QTE amendment. Id. Instead, it adopted the settlement trust option—an

option deemed more neutral because it allowed a Native corporation’s land to be placed

into trust under state law. 43 U.S.C. § 1629e; House Explanatory Statement to P.L. 100-

241, 1987 U.S.C.C.A.N. 3299, 3307, 1987 WL 61520 (December 21, 1987). President

Reagan signed the settlement trust option into law in 1988. 101 Stat. 1805 (February 3,

1988).

   42.    Alaska Native groups petitioned the Department in 1995 to remove the Alaska

Exception from the lands-into-trust regulations, Notice of Petition, Land Acquisitions,

60 Fed. Reg. 1,956 (Jan. 5, 1995), and in 1999 the Department concluded that a “credible

legal argument” existed that the Secretary’s authority to accept lands into trust in Alaska

survived ANCSA, Proposed Rule, Acquisition of Title to Land in Trust, 64 Fed. Reg.

17574, 17578 (Apr. 12, 1999). In 2001, the Department rescinded the Fredericks Opinion

based on “substantial doubt” regarding its conclusions. Memorandum from John Leshy,

Solicitor, to Assistant Secretary — Indian Affairs, “Rescinding the September 15, 1978,

Opinion of the Associate Solicitor for Indian Affairs entitled ‘Trust Land for the Natives

of Venetie and Article Village’ ” (Jan. 16, 2001).

   43.    In 2014, the Department removed the Alaska Exception by promulgating a new

regulation. Final Rule, Land Acquisitions in the State of Alaska, 79 Fed. Reg. 76,888

(Dec. 23, 2014). This followed a ruling from the United States District Court for the

District of Columbia finding the Alaska Exception unlawful. The United States Court of


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 19 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 19 of 25
Appeals for the District of Columbia Circuit later vacated the district court’s ruling after

the Department’s new rule mooted the State’s appeal. Akiachak Native Cmty. v. U.S.

Dep’t of Interior, 827 F.3d 100, 102 (D.C. Cir. 2016).

     44.      The Department’s removal of the Alaska Exception has resulted in uncertainty,

with multiple Solicitor Opinions reaching different conclusion. See Hilary C. Tompkins,

Solicitor Opinion M-37043, “Authority to Acquire Land into Trust in Alaska”

(Jan. 13, 2017); Daniel H. Jorjani, Solicitor Opinion M-37053, “Withdrawal of Solicitor

Opinion M-37043, ‘Authority to Acquire Land into Trust in Alaska’ Pending Review”

(June 29, 2018); Daniel H. Jorjani, Solicitor Opinion M-37064, “Permanent Withdrawal

of Solicitor Opinion M-37043, ‘Authority to Acquire Land into Trust in Alaska’”

(Jan. 19, 2021); Robert T. Anderson, Solicitor Opinion M-37069, “Withdrawal of M-

37064 and Announcement of Consultation on the Department’s Interpretation of the

Indian Reorganization Act and the Alaska Native Claims Settlement Act in Connection

with the Secretary’s Land into Trust Authority” (Apr. 27, 2021); Robert T. Anderson,

Solicitor Opinion M-37076, “The Secretary’s Lands into Trust Authority for Alaska

Natives and Alaska Tribes Under the Indian Reorganization Act and the Alaska Indian

Reorganization Act” (Nov. 16, 2022).

V.         The Central Council’s Application

     45.      The Central Council filed five applications seeking to have the Secretary take

lands located within downtown Juneau into trust. If the Secretary granted all five

applications, the United States would acquire approximately 3.5 acres in trust on behalf


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 20 of 25

            Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 20 of 25
of the Central Council. The Central Council has also requested that the lands taken into

trust constitute a new reservation. See 25 U.S.C. § 5110.

   46.    The Department’s implementing regulations require it to notify the State of a

tribe’s application, giving it “30 days in which to provide written comment as to the

acquisition’s potential impacts on regulatory jurisdiction, real property taxes and special

assessments.” 25 C.F.R. § 151.11(d). In its comments, the State questioned the

Secretary’s authority to take lands into trust for tribes in Alaska after the passage of

ANCSA. The State also noted that it could not adequately address “the acquisition’s

potential impacts on regulatory jurisdiction” when the Department insists on adjudicating

the Central Council’s applications independently. It makes little sense to address the

impacts of acquiring 787 square feet of land when the Central Council actually seeks to

place 3.5 acres—and maybe more—into trust.

   47.    In a decision dated November 17, 2022, Defendant Bryan Newland, the

Assistant Secretary of Indian Affairs approved the Central Council’s trust application for

Lot 15, Block 5, U.S. Survey 4694, a 787 square foot parcel in Juneau, Alaska. The

Assistant Secretary relied on Solicitor Opinion M-37076 to improperly conclude that the

Secretary has statutory authority to accept land into trust for Alaska Natives and federally

recognized tribes in Alaska. The Assistant Secretary also incorrectly concluded that this

authority was not constrained by the Supreme Court’s decision in Carcieri v. Salazar.

Based on this improper legal conclusion, the Assistant Secretary did not consider whether




State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 21 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 21 of 25
the Central Council’s members are “persons of Indian descent” who were members of a

“recognized Indian tribe [] under Federal jurisdiction” as of 1934. See 25 U.S.C. § 5129.

   48.     The lands into trust regulations also require the Secretary to consider the

location of the land relative to state boundaries and the parcel’s distance from the

boundaries of the tribe’s reservation. 25 C.F.R. § 151.11(b). “[A]s the distance between

the tribe’s reservation and the land to be acquired increases, the Secretary shall give

greater scrutiny to the tribe’s justification of anticipated benefits from the acquisition.”

Id. Additionally, the Secretary shall give greater weight to the State’s concerns about the

“impacts on regulatory jurisdiction, real property taxes and special assessments.” Id. §

151.11(b). In considering this factor, the Assistant Secretary properly recognized that

“ANCSA revoked the various reserves that had been set aside for Alaska Native groups

or for the administrative of Native affairs (excluding the Annette Island Reserve

established for the Metlakatla Indian Community).” Bryan Newland, Notice of Decision,

at 11 (November 17, 2022) (“Decision”). Nevertheless, the Assistant Secretary failed, as

required by the regulations, to give more weight to the State’s concerns about the

jurisdictional change his decision would create. Instead, the Assistant Secretary

considered, and weighed heavily, the Central Council’s “traditional homelands.” Id. He

noted that “[t]he Tribe’s ancestors used areas in and around Southeast Alaska, including

the area now known as Juneau, as their traditional and cultural homeland since time

immemorial.” Id. The Assistant Secretary’s reliance on the Central Council’s “traditional

cultural homeland” to support his decision to create Indian country in Alaska was


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 22 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 22 of 25
contrary to Congress’s extinguishment, through ANCSA, of all claims based on

aboriginal title. See 43 U.S.C. §§ 1603, 1617.

   49.    In his decision, the Assistant Secretary dismissed the State’s concerns about

the Department’s piecemeal approach to reviewing the Central Council’s many parcel

applications. Decision at 12. He believed it was unclear how this practice—which allows

the State to comment only on a small piece of a much larger movement by the Central

Council to place lands into trust—inhibited the State’s ability to raise jurisdictional or

regulatory issues.

   50.    The Assistant Secretary also notified the State of his decision to issue a

reservation proclamation—declaring this 787 square foot parcel a reservation—30 days

after the date of the decision on the trust application. Decision at 12. As such, 51 years

after Congress revoked all but one reservation in Alaska, 43 U.S.C. § 1618, and without

any clear statement from Congress granting the Secretary authority to create new

reservations, the Assistant Secretary used an 86-year-old statute to create a reservation in

downtown Juneau, Alaska.

   51.    Given that the Secretary of the Interior now claims a “highly consequential

power” to shift sovereign power within the State of Alaska, “there is every reason to

‘hesitate before concluding that Congress’ ” meant to confer on the Secretary (or her

delegates) the authority she now claims. See W. Virginia v. Environmental Protection

Action, 142 S. Ct. 2587, 2610 (2022) (quoting FDA v. Brown & Williamson Tobacco

Corp., 529 U.S. 120, 159-160 (2000)). The federal agency—and ultimately the courts—


State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 23 of 25

         Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 23 of 25
should “presume that ‘Congress intends to make major policy decisions itself, [and] not

leave those decisions to agencies.’ ” Id. at 2609 (quoting United States Telecom Ass’n v.

FCC, 855 F.3d 381, 419 (D.C. 2017) (Kavanaugh, J., dissenting from denial of rehearing

en banc)).

                                     CAUSE OF ACTION

   52.        The State realleges paragraphs 1 through 51.

   53.        The Assistant Secretary’s decision to accept land into trust on behalf of the

Central Council and create Indian country in Alaska was arbitrary, capricious, an abuse

of discretion, in excess of statutory authority, and/or otherwise contrary to the law in

violation of the APA. See 5 U.S.C. § 706(2).

                                    PRAYER FOR RELIEF

         WHEREFORE, the State of Alaska respectfully requests that this Court enter a

judgment providing the following relief.

         A.      Declare that Defendants’ action, as set forth above, was arbitrary and

capricious, an abuse of discretion, and not in accordance with law and therefore a

violation of the IRA, AIRA, ANCSA, and the APA;

         B.      Vacate the decision granting the Central Council’s application to take lands

into trust and issue an injunction directing Defendants to return the accepted parcel to the

Central Council with no restriction or trust status;

         C.      Vacate any proclamation declaring the accepted parcel to be a reservation;




State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 24 of 25

          Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 24 of 25
       D.     Enjoin the Defendants from accepting or considering requests to have lands

in Alaska taken into trust or restricted status;

       E.     Award Alaska its costs, expenses, and reasonable attorneys’ fees; and

       F.     Grant Alaska such other and further relief as the Court may deem necessary

and appropriate.

       DATED this 13th day of January, 2023.

                                            TREG R. TAYLOR
                                            ATTORNEY GENERAL

                                             By: /s/ Jessica Moats Alloway
                                                 Jessica Moats Alloway
                                                 Assistant Attorney General
                                                 Alaska Bar No. 1205045
                                                 Email: jessie.alloway@alaska.gov
                                                 Attorney for the Plaintiff

                                            By:    /s/ Christopher F. Orman
                                                   Christopher Orman
                                                   Assistant Attorney General
                                                   Alaska Bar No. 1011099
                                                   Email: christopher.orman@alaska.gov
                                                   Attorney for the Plaintiff




State of Alaska v. Newland, et al.                   Civil Action No.: __________________
Complaint For Declaratory Judgment and Injunctive Relief                      Page 25 of 25

        Case 3:23-cv-00007-SLG Document 1 Filed 01/17/23 Page 25 of 25
